Case 3:13-cr-00357-B       Document 310        Filed 10/03/14      Page 1 of 1      PageID 1624



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 UNITED STATES OF AMERICA,                      §
   Plaintiff,                                   §
                                                §                  CRIMINAL ACTION NO:
 v.                                             §                          3:13-CR-357-B
                                                §
 DAVID MUISE (03),                              §
   Defendant.                                   §


              ORDER ACCEPTING REPORT AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE
                       CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning

Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed

within fourteen days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned

District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge

concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the

Court accepts the plea of guilty, and Defendant is hereby adjudged guilty. Sentence will be

imposed in accordance with the Court's scheduling order.

SO ORDERED.

SIGNED: October 3, 2014.




                                             JANE J. BOYLE
                                             UNITED STATES DISTRICT JUDGE
